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         ATTACHMENT 2
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                                 LJones_47_16-48_6
DESIGNATION      SOURCE                                                            DURATION          ID

 47:16 - 48:06   Jones, Lawrence 2022-07-08                                         00:01:06   LJones_47_16-48
                 47:16   Q. Has Fox ever communicated, to the best of                               _6.1
                 47:17      your knowledge, with the NFL concerning a limitation
                 47:18      on the number of subscribers to Sunday Ticket?
                 47:19   A. Generally, yes.
                 47:20   Q. And, generally, what have those
                 47:21      communications been?
                 47:22   A. Well, I think it's kind of codified in this
                 47:23      paragraph, the idea that we think it's important for
                 47:24      it to be a premium product that's complementary to
                 47:25      our telecasts. And so long as it's a premium
                 48:01      product, the market will govern the extent of
                 48:02      distribution.
                 48:03   Q. In other words, the pricier the
                 48:04      Sunday Ticket product is, the fewer subscribers it
                 48:05      will have?
                 48:06   A. Yes.




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